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                           IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

LINDA HENDERSON,

              Plaintiff,

       v.                                                            No. 1:19-cv-01002-KG-LF

BJ’S RESTAURANT, and
GL RESOLUTION SPECIALTY,

              Defendants.

            STIPULATED ORDER TO DISMISS ALL CLAIMS WITH PREJUDICE

       This matter having come before the Court on the Parties’ Stipulated Motion to Dismiss all

Claims With Prejudice ("Motion"), and the Court having considered the Motion and being

otherwise fully informed of the premises,

       FINDS that the Motion is well-taken and should be granted.

       NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED that all claims

that were or could have been brought against BJ’s Restaurant in this case shall be and hereby are

dismissed with prejudice. Each party shall bear its own costs and attorneys’ fees associated with

the case.


                                            ________________________________________
                                            UNITED STATES DISTRICT JUDGE
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Submitted by:

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& SISK, P.A.

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